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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                    )
LILIAN PAHOLA CALDERON JIMENEZ,                     )
                                                    )
              Petitioner,                           )
                                                    )
       v.                                           )      No. 18-cv-10225-MLW
                                                    )
KIRSTJEN M. NIELSEN, et al.                         )
                                                    )
              Respondents.                          )
                                                    )

                       AFFIDAVIT FROM ICE REPRESENTATIVE

       Pursuant to this Court’s order on February 15, 2018 (ECF No 17), ordering Respondents,

by 12:00 noon on February 21, 2018, to file an affidavit from an ICE representative,

Respondents submit the following affidavit from Deputy Field Office Director, Todd M. Lyons.
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Respectfully submitted,

CHAD READLER
Acting Assistant Attorney General

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/s/ Mary L. Larakers
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Counsel for Respondents




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                                CERTIFICATE OF SERVICE

        I, Mary L. Larakers, Trial Attorney, hereby certify that this document filed through the
ECF system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants.

                                                     /s/ Mary L. Larakers
                                                     Mary L. Larakers
Dated: February 21, 2018                             Trial Attorney




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